Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 1 of 16 PageID #:17




                      EXHIBIT 1
          Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 2 of 16 PageID #:18




                                             lAMEZY                          LIZ
Reg. No. 5,809,174                 SEGA Games Co., Ltd. SAPAN CORPORATION)
                                   1-2-12, Haneda,
Registered Jul. 23, 2019           Ota-ku Tokyo
                                   JAPAN
Int. Cl.: 9, 28, 41                CLASS 9: Computer game programs; computer game software; video game software; video
                                   game programs; video game discs and cartridges; computer game software for use on mobile
Service Mark                       and cellular phones; mobile phone straps; protective cases for cell phones; downloadable
                                   graphics, images and moving images for computers, video game machines or mobile phones
Trademark                          featuring scenes and characters based on computer and video games; downloadable computer
                                   and video game software; downloadable music files via a global computer network and
Principal Register                 wireless devices; sound recorded compact discs featuring music, video game sounds and
                                   dialogues; musical sound recordings; prerecorded video discs and tapes featuring music,
                                   comedy,   drama,   action,   adventure   and   animation;   electronic   publications,    namely,
                                   downloadable books and magazines in the field of computer games, video games, cartoons
                                   and music; phonograph records featuring music

                                   CLASS 28: Coin-operated video games; arcade game machines; arcade video game
                                   machines; amusement game machines with built-in screens; toy vehicles; dolls; stuffed toys;
                                   toy action figures; trading card games; playing cards; arcade redemption game machines
                                   which dispense tickets or tokens to successful players; arcade crane game machines which
                                   dispense tickets or tokens to successful players

                                   CLASS 41: Entertainment services, namely, providing on-line video games and on-line
                                   computer games; providing entertainment information on on-line games; providing non-
                                   downloadable on-line graphics, moving images and images featuring scenes and characters
                                   based on computer and video games by computer networks, video game machines or mobile
                                   phones; providing amusement facilities; providing amusement arcade services; providing
                                   amusement parks; organization, production and presentation of video and computer game
                                   contests and tournaments; providing entertainment information about amusement            facilities;
                                   providing on-line music, not downloadable

                                   The mark consists of the wording "P5" where the top of the letter "P" is positioned inside the
                                   bottom portion of the number "5" above the wording "PERSONAS" in stylized font.

                                   PRIORITY DATE OF 04-02-2018 IS CLAIMED
   Director of the United States   OWNER    OF INTERNATIONAL                REGISTRATION        1418344     DATED      04-06-2018,
   Patent and Trademark Office     EXPIRES 04-06-2028
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 3 of 16 PageID #:19
                    SER. NO. 79-238,901, FILED 04-06-2018




                             Page: 2 of 3 / RN #5809174
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         Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 4 of 16 PageID #:20



                      GQnited States Patent and Trademark Office                                                               ly




Reg. No. 6,132,788                  SEGA Games Co., Ltd. (JAPAN CORPORATION)
                                    Sumitomo Fudosan Osaki Garden Tower,
Registered Aug. 25, 2020            1-1-1 Nishi-shinagawa, Shinagawa-ku
                                    Tokyo, JAPAN

Int. Cl.: 9, 41                     CLASS 9: Downloadable computer game programs; recorded computer game programs;
                                    downloadable computer game software; recorded computer game software; downloadable
Service Mark                        video game software; recorded video game software; downloadable video game programs;
                                    recorded video game programs; video game discs and cartridges; downloadable computer
Trademark                           game software for use on mobile and cellular phones; downloadable computer game and
                                    video game software
Principal Register
                                    CLASS   41:    Entertainment   services,   namely,   providing   on-line   video   games   and   on-line
                                    computer games; organization, production and presentation of video and computer game
                                    contests and tournaments

                                    The mark consists of the stylized wording "P5S" underneath which is the stylized wording
                                    "PERSONAS" shrinking in size from left to right and underneath that is the stylized wording
                                    "STRIKERS" shrinking in size from left to right.

                                    PRIORITY DATE OF 12-03-2019 IS CLAIMED

                                    OWNER   OF INTERNATIONAL                   REGISTRATION           1512696     DATED        12-11-2019,
                                    EXPIRES 12-11-2029

                                    SER. NO. 79-277,959, FILED 12-11-2019




    Director of the United States
    Patent and Trademark Office
           Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 5 of 16 PageID #:21



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                       GQnited States Patent and Trademark Office                                               lity



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                                 ALD                                       LIZ
  Reg. No. 6,868,492            SEGA CORPORATION (JAPAN CORPORATION)
                                Sumitomo Fudosan Osaki Garden Tower,
  Registered Oct. 11, 2022       1-1-1 Nishi-Shinagawa, Shinagawa-ku Toky
                                JAPAN
  Int. Cl.: 28
                                CLASS   28: Video game slot machines, namely, electronic slot machines; coin-operated
  Trademark                     video games; arcade game machines; arcade video game machines; amusement game
  Principal Register            machines with built-in screens; toy vehicles; dolls; stuffed toys; toy action figures;
                                trading card games; playing cards; arcade redemption game machines which dispense
                                tickets or tokens to successful players; arcade crane game machines which dispense
                                tickets or tokens to successful players; gaming machines, namely, slot machines

                                The mark consists    of the   large   lettering   "P5"   with     the   "5"    above   the   wording
                                "PERSONAS".

                                OWNER OF INTERNATIONAL                REGISTRATION              1634131       DATED     10-11-2021,
                                EXPIRES 10-11-2031

                                SER. NO. 79-328,975, FILED 10-11-2021




Katnovine Ky Vidas
Director of the United States
Patent and Trademark Office
 Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 6 of 16 PageID #:22




Int. Cl.: 9
   ior
PriorU.S. U.S. Cls Cls.: 21, , 2 23, 26, 36, and 38                     _ Reg. No. 2,237,170
United States Patent and Trademark Office                                    Registered Apr. 6, 1999
                                        TRADEMARK
                                     PRINCIPAL REGISTER



                                          PERSONA



ATLUS CO., LTD. (CALIFORNIA CORPORA-                  FIRST USE     12-13-1996;   IN   COMMERCE
  TION)                                             12-13-1996.
15255 ALTON PARKWAY, SUITE 100
IRVINE, CA 92618                                     SN 75-157,280, FILED 8-26-1996.
   FOR: VIDEO GAME CD-ROM'S,         IN CLASS   9
(U.S. CLS. 21, 23, 26, 36 AND 38).                  LYNN   A. LUTHEY,   EXAMINING      ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 7 of 16 PageID #:23




   Int. CL: 9
   Prior U.S. Cls.: 21, 23, 26, 36 and 38
       .                                                                      Reg. No. 3,012,703
   United       States   Patent     and       Trademark        Office           Registered Nov.
                                                                                             8, 2005

                                          TRADEMARK
                                    PRINCIPAL        REGISTER



                            SHIN          MEGAMI          TENSEI



   ATLUS U.S.A., INC. (CALIFORNIA       CORPORA-       SHIN MEGAMI TENSEI DOES NOT IDENTIFY A
      TION)                                          PARTICULAR LIVING INDIVIDUAL.
   15255 ALTON PARKWAY, SUITE 100
   IRVINE, CA 92618
                                                       THE ENGLISH TRANSLATION OF SHIN IS GEN-
      FOR: COMPUTER GAME SOFTWARE AND VI-            UINE, TRUE AND MEGAMI IS GODDESS AND
   DEO GAME SOFTWARE, IN CLASS 9 (US. CLS. 21,       TENSEI IS REINCARNATION.
   23, 26, 36 AND 38).

     FIRST USE 10-0-2004; IN COMMERCE   10-0-2004.
                                                      SER. NO. 76-602,126, FILED 7-12-2004.
     THE MARK CONSISTS OF STANDARD CHAR-
   ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   FONT, STYLE, SIZE, OR COLOR.                      RENEE MCCRAY, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 8 of 16 PageID #:24




   Int. CL: 9

   Prior U.S. Cls.: 21, 23, 26, 36, and 38
       .                                                                      Reg. No. 3,060,783
   United       States    Patent       and   Trademark         Office        _ Registered Feb. 21, 2006

                                          TRADEMARK
                                       PRINCIPAL REGISTER




                                              SMT


   ATLUS. SA»     INC.   (CALIFORNIA    CORPORA-       THE MARK CONSISTS OF STANDARD CHAR-
                                                     ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   15255 ALTON PARKWAY, SUITE 100                    FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

      FOR: COMPUTER GAME SOFTWARE AND VI-               .                    19.
   DEO GAME SOFTWARE, IN CLASS 9 (US. CLS. 21,        SN 76-602,127, FILED 7-12-2004.
   23, 26, 36 AND 38).
     FIRST USE 10-14-2004; IN COMMERCE 10-14-2004.   ANN E. SAPPENFIELD, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 9 of 16 PageID #:25




   Int. Cl: 9

   Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                             Reg. No. 3,175,004
   United       States    Patent      and    Trademark        Office           Registered Nov. 21, 2006


                                         TRADEMARK
                                      PRINCIPAL REGISTER




                               DIGITAL DEVIL SAGA



   ATLUS U.S.A., INC. (CALIFORNIA CORPORA-            THE MARK CONSISTS OF STANDARD CHAR-
     TION)                                          ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   15255 ALTON PARKWAY, SUITE 100                   FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

      FOR: VIDEO AND COMPUTER GAME PRO-               NO CLAIM IS MADE TO THE EXCLUSIVE
   GRAMS, CARTRIDGES AND DISCS AND IN-              RIGHT TO USE "DIGITAL", APART FROM THE
   STRUCTION MANUALS SOLD AS A UNIT;                MARK AS SHOWN.
   PROGRAM-RECORDED SUBSTRATES FEATUR-
   ING VIDEO GAMES FOR USE WITH TELEVISION
   VIDEO GAME MACHINES, IN CLASS 9 (U.S. CLS. 21,    SN 78-474,765, FILED 8-27-2004.
   23, 26, 36 AND 38).

     FIRST USE 3-29-2005; IN COMMERCE 3-29-2005.    SALLY SHIH, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 10 of 16 PageID #:26




    Int. Cl.: 9

    Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                              Reg. No. 3,300,019
   United         States   Patent    and      Trademark        Office       _ Registered Sep. 25, 2007

                                          TRADEMARK
                                     PRINCIPAL REGISTER




                              ODIN SPHERE

   ATLUS U.S.A., INC. (CALIFORNIA       CORPORA-       THE MARK CONSISTS OF STANDARD CHAR-
      TION)                                          ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   199 TECHNOLOGY DRIVE, SUITE 105                   FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

     FOR: VIDEO AND COMPUTER GAME PRO-
   GRAMS, CARTRIDGES AND DISCS AND IN-                SN 78-898,276, FILED 6-1-2006.
   STRUCTION MANUALS SOLD AS A UNIT, IN
   CLASS 9 (USS. CLS. 21, 23, 26, 36 AND 38).
     FIRST USE 5-22-2007; IN COMMERCE   5-22-2007.   WENDY   GOODMAN,     EXAMINING    ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 11 of 16 PageID #:27




   Int. Cl: 9

   Prior U.S. Cls.: 21, 23, 26, 36 and 38
        .                                                                      Reg. No. 3,311,295
   United        States      Patent       and   Trademark       Office          Registered Oct. 16, 2007

                                             TRADEMARK
                                          PRINCIPAL REGISTER




                                 TRAUMA CENTER


   ATT. U.S.A.,      INC.   (CALIFORNIA    CORPORA-    FIRST USE 11-0-2006; IN COMMERCE        11-0-2006.
            )
   199 TECHNOLOGY DRIVE, SUITE 105
   IRVINE, CA 92618                                     THE MARK CONSISTS OF STANDARD CHAR-
                                                      ACTERS WITHOUT CLAIM TO ANY PARTICULAR
     FOR: VIDEO AND COMPUTER GAME PRO-                FONT, STYLE, SIZE, OR COLOR.
   GRAMS, CARTRIDGES AND DISCS AND IN-
   STRUCTION MANUALS SOLD AS A UNIT;
   PROGRAM-RECORDED SUBSTRATES FEATUR-                 SER. NO. 77-090,832, FILED 1-25-2007.
   ING VIDEO GAMES FOR USE WITH TELEVISION
   VIDEO GAME MACHINES, IN CLASS 9(U.S. CLS. 21,
   23, 26, 36 AND 38).                                DAVID MILLER, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 12 of 16 PageID #:28




   Int. CL: 9

   Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                                 Reg. No. 3,382,974
   United         States       Patent       and   Trademark       Office       _ Registered Feb. 12, 2008

                                               TRADEMARK
                                            PRINCIPAL REGISTER




                                    GROWLANSER

   ATLUS     U.S.A.,   INC.   (CALIFORNIA    CORPORA-    THE MARK     CONSISTS OF STANDARD        CHAR-
     TION)                                              ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   199 TECHNOLOGY DRIVE, SUITE 105                      FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

      FOR: VIDEO GAME DISCS, IN CLASS 9 (U.S. CLS.       SN 78-726,658, FILED 10-5-2005.
   21, 23, 26, 36 AND 38).

     FIRST USE 9-18-2007; IN COMMERCE 9-18-2007.        KAREN K. BUSH, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 13 of 16 PageID #:29




   Int. Cl: 9
   Prior U.S. Cls.: 21, 23, 26, 36, and 38
        .                                                                          Reg. No. 3,414,960
   United       States        Patent          and   Trademark       Office       _ Registered Apr. 22, 2008

                                                 TRADEMARK
                                              PRINCIPAL REGISTER




                                   DEVIL SUMMONER


   ATLUS U.S.A.,      INC.   (CALIFORNIA       CORPORA-     THE MARK CONSISTS OF STANDARD CHAR-
     TION)                                                ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   199 TECHNOLOGY        DRIVE, SUITE   105               FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

      FOR: VIDEO AND COMPUTER GAME PRO-
   GRAMS AND DISCS AND INSTRUCTION MAN-                    SN 77-006,362, FILED 9-25-2006.
   UALS SOLD AS A UNIT, IN CLASS 9 (U.S. CLS. 21, 23,
   26, 36 AND 38).

     FIRST USE 10-10-2006; IN COMMERCE 10-10-2006.        WENDY GOODMAN, EXAMINING ATTORNEY
Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 14 of 16 PageID #:30




   Int. Cl: 9

    Prior U.S. Cls.: 21, 23, 26, 36 and 38
                                                                                  Reg. No. 3,524,051
   United       States        Patent        and   Trademark        Office          Registered Oct. 28, 2008

                                               TRADEMARK
                                            PRINCIPAL REGISTER




                                  ETRIAN ODYSSEY


   ATLUS U.S.A.,      INC.   (CALIFORNIA     CORPORA-     THE MARK CONSISTS OF STANDARD CHAR-
     TION)                                              ACTERS WITHOUT CLAIM TO ANY PARTICULAR
   199 TECHNOLOGY        DRIVE, SUITE 105               FONT, STYLE, SIZE, OR COLOR.
   IRVINE, CA 92618

      FOR: VIDEO AND ELECTRONIC GAME CAR-
   TRIDGES AND PROGRAMS, AND INSTRUCTION-                 SER. NO. 77-435,681, FILED 3-31-2008.
   AL BOOKLETS SOLD AS A UNIT, IN CLASS 9 (USS.
   CLS. 21, 23, 26, 36 AND 38).

     FIRST USE 5-0-2007; IN COMMERCE 5-0-2007.          SUE LAWRENCE, EXAMINING ATTORNEY
         Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 15 of 16 PageID #:31


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                        Gutted States Patent and Trademark Office                                              lity




Reg. No. 5,731,749                 ATLUS CO., LTD.      (JAPAN CORPORATION)
                                   1-1-1 Nishi-shinagawa
Registered Apr. 23, 2019           Sumitomo Fudosan Osaki Garden Tower F24
                                   Shinagawa-ku, Tokyo, JAPAN 141-0033
Int. Cl.: 9                        CLASS 9: Video game cartridges and discs; Video game software; Video and computer game
                                   programs; Computer game software for personal computers and home video game consoles;
Trademark                          Computer programs for video and computer games; Interactive video game programs

Principal Register                 FIRST USE 7-26-2011; INCOMMERCE             7-26-2011

                                   The color(s) pink, red, white, and black is/are claimed as a feature of the mark.

                                   The mark consists of the stylized black wording "CATHERINE" with white outlining on top
                                   of an image of a girl in pink, red, and white next to a male symbol       in white and a female
                                   symbol in pink framed within an incomplete fluid circle in pink, red, and white.

                                   SER. NO. 88-028,888, FILED 07-07-2018




   Director of the United States
   Patent and Trademark Office
           Case: 1:24-cv-02428 Document #: 1-1 Filed: 03/26/24 Page 16 of 16 PageID #:32




                          Gnited States Patent and Trademark Cffice                                            ly


                                   SHIN MEGAMI TENSEI
                                        LIBERATION

Reg. No. 5,979,078                  ATLUS CO., LTD. JAPAN CORPORATION)
                                    2-11-22 Sangenjyaya
Registered Feb. 04, 2020            Setagaya-ku, Tokyo, JAPAN 154-0024

                                    CLASS 9: Video game software; video game programs; downloadable video game software
Int. ClL.: 9                        for use on mobile and cellular phones
Trademark                           FIRST USE 1-22-2018; INCOMMERCE 7-24-2018

Principal Register                  THE MARK CONSISTS OF STANDARD CHARACTERS                 WITHOUT     CLAIM TO ANY
                                    PARTICULAR FONT STYLE, SIZE OR COLOR

                                    The English translation of "SHIN", "MEGAMI" and "TENSEI" in the mark is "genuine" and
                                    “true”, "goddess", and "reincarnation".

                                    SER. NO. 88-106,758, FILED 09-06-2018




   Director of the United States
   Patent and Trademark Office
